Edward J. Maney, Trustee, Bar #12256
101 N. First Avenue, Suite 1775
Phoenix, Arizona 85003
Telephone (602) 277-3776
ejm@maney13trustee.com

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF ARIZONA

In re:                                                      )      In Proceedings Under Chapter 13
                                                            )
MICHAEL PATRICK FLAHERTY                                    )      Case No. 2:16-07828-BKM
                                                            )
                                                            )
                                                            )      TRUSTEE’S MOTION TO DISMISS
__________________________Debtor (s)________                )

COMES NOW Edward J. Maney, Trustee in the above-captioned Chapter 13 Proceeding and
states that the debtor(s) is/are in default under the terms of their Chapter 13 Plan. Plan payments
are 3+ months delinquent and no showing has been made of any just cause for the default.

                Total delinquency as of this date:         $2,200.00
                The next scheduled payment is due:         September 7, 2018

The Trustee will lodge an order dismissing this case if the debtor(s) fail to meet one of the following
requirements:

    1. All Plan payments must be current by September 17, 2018. Including any payment that come due within
       the guidelines of this Motion to Dismiss
    2. The debtor(s) file a Notice of Conversion to a Chapter 7 with the Court and serve a copy
       on the Trustee.
    3. The debtor(s) file a Motion for a Moratorium of Plan Payments with the Court and serve a
       copy on the Trustee.                                          Digitally signed by
Dated: [see electronic signature]
                                         Edward J. Edward J. Maney, Esq.
                                         Maney, Esq. Date: 2018.08.14
                                            ____________________________________
                                                 Edward J. Maney, Trustee
                                                     09:47:44 -07'00'
CERTIFICATE OF MAILING FOR CASE NO. 16-07828
Copies of the foregoing mailed (see electronic signature below) to the following:

Kenneth L. Neeley, Esq.
2250 E. Germann Road
Suite #11
Chandler, AZ 85286-
Attorney for Debtor

MICHAEL PATRICK FLAHERTY
5601 W. MONTEREY STREET
CHANDLER, AZ 85226
Debtor


                                                                      Jackie
5601 W. MONTEREY STREET
                                                                                            Digitally signed by Jackie Garcia
CHANDLER, AZ 85226                                                                          DN: cn=Jackie Garcia, o=Edward J.
Co-Debtor                                                                                   Maney, Trustee, ou=File Clerk,



                                                                      Garcia
                                                                                            email=jgarcia@maney13trustee.c
                                                                                            om, c=US
                                                                                            Date: 2018.08.15 08:40:13 -07'00'
                                                                          _________________________
                                                                              Trustee's Clerk




  Case 2:16-bk-07828-BKM              Doc 50      Filed 08/15/18       Entered 08/15/18 09:07:25                     Desc
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